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                                           Attachment A
                                           COUNT ONE
       From on or about September 1, 2020 through on or about March 9, 2021, the defendants

conspired and agreed with another known person to commit offenses against the United States,

that is, to engage in the business of dealing firearms, in violation of Title 18, United States Code,

Section 922(a)(1)(A); to transport firearms across state lines, in violation of Title 18, United

States Code, Section 922(a)(3); to deliver firearms to a resident of a different state, in violation

of Title 18, United States Code, Section 922(a)(5); and to transport firearms on a common

carrier, in violation of Title 18, United States Code, Section 922(e). All in violation of Title 18,

United States Code, Section 371.

                                           COUNT TWO

       On March 9, 2021, defendant Tyrone PATTERSON knowingly delivered and caused to

be delivered, to a common carrier, for transportation and shipment in interstate commerce, a

container containing ten firearms, and failed to provide written notice of such to the common

carrier or to deliver the firearms to the custody of said carrier. All in violation of Title 18,

United States Code, Section 922(e).
